
Marvin, J.
This is an appeal from the court of common pleas, The action is brought under favor of section 1278 of the Revised Statutes of Ohio, providing that a tax-payer may, when the proper officer has been requested in writing to bring the action and has refused to do so, himself bring an action in the name of the state to restrain the misapplication of public funds.
The petition shows that the plaintiff is a tax-payer of Cuyahoga county; that tho defendant is auditor of such-county,and that unless restrained by the order of this court, he will issue his warrant upon the county treasurer for the payment of one H. A. Beckerman, as compensation for-services as assistant to the board of deputy state supervisors-of elections of such county.
The prayer is for an injunction to prevent the issuing of' such warrant.
To this petition Ihe defendant answers, admitting that unless restrained by order of the court, he will issue his warrant upon the treasurer of the county for the payment; stated in the petition.
The answer further sets out that the said Beckerman is acting as an assistant to said board, and that his compensation of $25.00 per month is one of the necessary expenses-in the performance of the duties of said board, and that said board has found such payment to be a necessary expense in the performance of its duties.
To this answer the relator files a general demurrer. One-of the questions raised by this demurrer is, whether under section 2966-1 of the Revised Statutes, the compensation, for a necessary assistant to the board of supervisors may be-allowed and paid under this clause of the section:
“The compensation above provided for, and all proper-necessary expenses in the performance of the duties of such deputy supervisors, shall be paid out of the county treas?ury as other county expenses, and the county commissioners shall make the necessary levy to meet the same.”
“The compensation above provided for,” as used in the-foregoing clause, refers to the compensation of the deputy supervisors and their clerk. So that, if the payment sought to be restrained in this action, can be made at all, it is by-*182(reason of the words “and all proper necessary expenses.” As has already been said, the answer avers that the compensation to be paid to Beckerman is for proper necessary Services rendered by said Beckerman to them, and that such board has found and determined the same to be necessary.
It is urged on behalf of the plaintiff that the word “expenses”, as used in this section, does not include any compensation to be paid to any person for services rendered.
The second definition of this word,as found in Webster’s Dictionary, is: “That which is expended, laid out, or consumed; cost, out-lay, charge, as the expenses of a war.”
It can not be doubted that included in the expenses of war would be compensation to the men in the prosecution ■of such war.
In the case of Mathews Manufacturing Company v. Trenton Lamp Company, 73 Federal Reporter, page 215, where a construction is given to section 4929, Revised Statutes of the United States, which section authorizes the issuance of a patent to any person who, by his own industry, genius, efforts and expenses, has invented, the court ■uses this language: “No authority can be found to compel the limitation of the word ‘expenses’ in the construction of this statute to the expenditure of money. And it may, indeed be defined as a disbursement of money, but it is as well the employment and consumption of time and labor,”
In Swartzell v. Rogers, 3 Kan., 382, which required the ■construction of a statute for the partition of lands, in which it was provided that, “The court before whom any partition ■should be made, should tax the costs and expenses which ■might accrue, according to equity.”
In passing upon this the court uses this language:
“The word ‘expense’, used in this section, undoubtedly includes those charges incurred in the proceedings to obtain partition, which are not included in the word costs. * * '* In Ohio the charges allowed to the sheriff, the freeholders or commissioners, and the surveyor and his assistants ■employed in making partition, are fixed by law, and would therefore be included in the term ‘costs’. There would be some grounds in such a state of law for deciding that the term ‘expenses’ included all allowance for services of ■others as the attorneys of the parties respectively employed in making the partition.”
Samuel Doerfler, for Plaintiff.
P. H. Kaiser, and F, L. Taft, for Defendant.
It has always been held that the statute providing for allowance of the expenses of the last sickness of a decedent includes the payment for professional attendance of a physician and for nurses. There is nothing in the pleadings of this case to show what services Beckeiman performed for this board; for all that appears he may have been a janitor, a messeuger, or an assistant to the clerk, the • employment of either of which may be necessary for a proper discharge of the duties of these officers, and such compensation may as well be included in the word “expenses,” as may lights, fuel and the like.
It, follows from what has already been said, that unless •for some other reason this answer is bad, that the demurrer should be overruled.
But there is.another ground about which little was said in the argument, which requires consideration, and that is a construction of section 894, Revised Statutes, which reads in part:
“No claims against the county shall be paid otherwise than upon the issuance of the county commissioners' upon the warrant of the county auditor, except in those cases in which the amount due is taxed by law or is authorized to be fixed by some other person or tribunal; in such case the sum shall be paid upon the warrant of the county auditor upon the proper certifying of the person or tribunal allowing the same, ”
There is no claim here that the amount to be paid to Beckerman is fixed by law. Nor is there any allegation that the same has been allowed by the county commissioners, neither was there any law which authorized any other person or tribunal to fix the amount of such compensation,
We hold, therefore, that without the allegation that the amount to be paid has been allowed'by the county commissioners, the answer in this case is bad, and for' this reason, and this reason alone, the demurrer is sustained,
